Case 6:24-cv-00270-AM-DTG   Document 44-3   Filed 03/20/25   Page 1 of 23




             EXHIBIT C
    Case 6:24-cv-00270-AM-DTG                                     Document 44-3
                                                                                I 11111 1 111111 1 1 111111111 1111 11111 1111111 1 IIIII IIIII I IIII IIII I II IIII
                                                                                                        Filed 03/20/25

                                                                                                              US010063761B2
                                                                                                                                          Page 2 of 23



c12) United                 States Patent                                                 (10) Patent No.:                   US 10,063,761 B2
       Konicek                                                                            (45) Date of Patent:                            Aug. 28, 2018

(54) AUTOMATIC UPLOAD OF PICTURES FROM                                               (56)                       References Cited
     A CAMERA
                                                                                                        U.S. PATENT DOCUMENTS
(71) Applicant: Cutting Edge Vision LLC, Scottsdale,                                        4,081,623 A           3/1978 Vogeley
                AZ (US)                                                                     4,087,630 A           5/1978 Browning et al.
                                                                                                                    (Continued)
(72) Inventor:         Jeffrey C. Konicek, Tolono, IL (US)
                                                                                                    FOREIGN PATENT DOCUMENTS
(73) Assignee: CUTTING EDGE VISION LLC,                                              EP                   0376618              7/1990
               Scottsdale, AZ (US)                                                   EP                   1938 573             8/2011
                                                                                                                    (Continued)
( *) Notice:           Subject to any disclaimer, the term of this
                       patent is extended or adjusted under 35                                             OTHER PUBLICATIONS
                       U.S.C. 154(b) by 45 days.                                     Response to Non-Final Office Action in U.S. Appl. No. 14/539,687
                                                                                     (dated May 4, 2016).
(21) Appl. No.: 14/950,370                                                                                          (Continued)

(22) Filed:            Nov. 24, 2015                                                 Primary Examiner - Rodney Fuller
                                                                                     (74) Attorney, Agent, or Firm - Law Offices of Steven
                                                                                     G. Lisa, Ltd.; Justin Lesko, Esq.; James D. Busch, Esq.
(65)                      Prior Publication Data
        US 2016/0100090 Al                Apr. 7, 2016                              (57)                    ABSTRACT
                                                                                    A system and method is disclosed for enabling user friendly
                                                                                    interaction with a camera system. Specifically, the inventive
                 Related U.S. Application Data                                      system and method has several aspects to improve the
                                                                                    interaction with a camera system, including voice recogni­
(60)    Continuation of application No. 14/614,515, filed on                        tion, gaze tracking, touch sensitive inputs and others. The
        Feb. 5, 2015, which is a continuation of application                        voice recognition unit is operable for, among other things,
                         (Continued)                                                receiving multiple different voice commands, recognizing
                                                                                    the vocal commands, associating the different voice com­
                                                                                    mands to one camera command and controlling at least some
(51) Int. Cl.                                                                       aspect of the digital camera operation in response to these
     G03B 17/00                    (2006.01)                                        voice commands. The gaze tracking m1it is operable for,
     H04N 5/232                    (2006.01)                                        among other things, detennining the location on the view­
                              (Continued)                                           finder image that the user is gazing upon. One aspect of the
(52) U.S. Cl.                                                                       touch sensitive inputs provides that the touch sensitive pad
     CPC ......... H04N 5/23203 (2013.01); G03B 13/02                               is mouse-like and is operable for, among other things,
                           (2013.01); G03B 17102 (2013.01);                         receiving user touch inputs to control at least some aspect of
                                                                                    the camera operation. Another aspect of the disclosed inven­
                         (Continued)                                                tion provides for gesn1re recognition to be used to interface
(58) Field of Classification Search                                                 with and control the camera system.
     USPC ........... ................................................ 396/56
     See application file for complete search history.                                                  19 Claims, 8 Drawing Sheets


                                         10d

                                         10e
   Case 6:24-cv-00270-AM-DTG                         Document 44-3               Filed 03/20/25               Page 3 of 23


                                                    US 10,063,761 B2
                                                            Page 2


               Related U.S. Application Data                            5,541,400 A       7/1996   Hagiwara et al.
                                                                        5,546,145 A       8/1996   Bernardi et al.
        No. 14/539,687, filed on Nov. 12, 2014, now Pat. No.            5,548,335 A       8/1996   Mitsuhashi et al.
        9,485,403, which is a continuation of application No.           5,570,151 A      10/1996   Terunuma et al.
                                                                        5,579,046 A      11/1996   Mitsuhashi et al.
        14/495,976, filed on Sep. 25, 2014, now Pat. No.                5,579,080 A      11/1996   Irie et al.
        8,917,982, which is a continuation of application No.           5,581,323 A      12/1996   Suzuki et al.
        14/453,511, filed on Aug. 6, 2014, now Pat. No.                 5,600,399 A       2/1997   Yamada et al.
        8,923,692, which is a continuation of application No.           5,634,141 A       5/1997   Akashi et al.
                                                                        5,689,619 A      11/1997   Smyth
        14/315,544, filed on Jun. 26, 2014, now Pat. No.                5,729,289 A       3/1998   Etoh
        8,897,634, which is a continuation of application No.           5,745,810 A       4/1998   Matsushima
        14/203,129, filed on Mar. 10, 2014, now Pat. No.                5,748,992 A       5/1998   Tsukahara et al.
        8,818,182, which is a continuation of application No.           5,749,000 A       5/1998   Narisawa
                                                                        5,765,045 A       6/1998   Takagi et al.
        13/717,681, filed on Dec. 17, 2012, now Pat. No.                5,797,046 A       8/1998   Nagano et al.
        8,831,418, which is a continuation of application No.           5,907,723 A       5/1999   Inoue
        13/087,650, filed on Apr. 15, 2011, now Pat. No.                5,917,921 A       6/1999   Sasaki
        8,467,672, which is a continuation of application No.           5,923,908 A       7/1999   Schrock et al.
        12/710,066, filed on Feb. 22, 2010, now Pat. No.                5,926,655 A       7/1999   Irie et al.
                                                                        5,970,258 A      10/1999   Suda et al.
        7,933,508, which is a division of application No.               6,021,278 A       2/2000   Bernardi et al.
        11/163,391, filed on Oct. 17, 2005, now Pat. No.                6,091,334 A       7/2000   Galiana
        7,697,827.                                                      6,101,338 A       8/2000   Bernardi et al.
                                                                        6,115,556 A       9/2000   Reddington
                                                                        6,181,377 Bl      1/2001   Kobayashi
(51)    Int. Cl.                                                        6,243,076 Bl      6/2001   Hatfield
                                                                        6,289,140 Bl      9/2001   Oliver
        G03B 17102               (2006.01)                              6,351,273 Bl      2/2002   Lemelson et al.
        G03B 29100               (2006.01)                              6,393,216 Bl      5/2002   Ootsuka et al.
        G03B 31/06               (2006.01)                              6,434,403 Bl      8/2002   Ausems et al.
        H04N 1100                (2006.01)                              6,499,016 Bl     12/2002   Anderson
                                                                        6,538,697 Bl      3/2003   Honda et al.
        G03B 13102               (2006.01)
                                                                        6,549,586 B2      4/2003   Gustafsson et al.
        G06F 3/041               (2006.01)                              6,591,239 Bl      7/2003   McCall
        Gl0L 15122               (2006.01)                              6,593,956 Bl      7/2003   Potts et al.
        Gl0L 17122               (2013.01)                              6,636,259 Bl *   10/2003   Anderson .......... H04N 1/00151
        H04M 3/42                (2006.01)                                                                                348/14.04
        H04N 51225               (2006.01)                               6,637,883 Bl    10/2003   Tengshe et al.
        H04N 1121                (2006.01)                               6,674,964 B2     1/2004   Irie
                                                                         6,721,001 Bl     4/2004   Berstis
(52)    U.S. Cl.                                                         6,758,563 B2     7/2004   Levola
        CPC ............. G03B 29100 (2013.01); G03B 31/06               6,795,558 B2     9/2004   Matsuo
             (2013.01); G06F 3/041 (2013.01); Gl0L 15122                 6,804,396 B2    10/2004   Higaki et al.
                    (2013.01); Gl0L 17122 (2013.01); H04M                6,847,336 Bl     1/2005   Lemelson et al.
              3/42204 (2013.01); H04N 1100095 (2013.01);                 6,927,694 Bl     8/2005   Smith
                                                                         7,046,924 B2     5/2006   Miller et al.
                    H04N 1100204 (2013.01); H04N 1100209
                                                                         7,091,928 B2     8/2006   Rajasingham
                 (2013.01); H04N 1100212 (2013.01); H04N                 7,117,519 Bl    10/2006   Anderson et al.
               1100244 (2013.01); H04N 112112 (2013.01);                 7,149,688 B2    12/2006   Schalkwyk
                         H04N 512257 (2013.01); H04N 51232               7,164,117 B2     1/2007   Breed
                 (2013.01); H04N 5123206 (2013.01); H04N                 7,259,785 B2     8/2007   Stavely et al.
              5123216 (2013.01); H04N 5123219 (2013.01);                 7,340,766 B2     3/2008   Nagao
                    H04N 5123222 (2013.01); H04N 5123293                 7,443,419 B2    10/2008   Anderson et al.
                                                                         7,702,821 B2     4/2010   Feinberg et al.
                (2013.01); GJOL 2015/223 (2013.01); H04N
                                                                         8,046,504 B2    10/2011   Feinberg et al.
                                        2201/0084 (2013.01)              8,140,813 B2     3/2012   Ozceri et al.
                                                                         8,571,851 Bl    10/2013   Tickner et al.
                                                                         8,645,325 B2     2/2014   Anderson et al.
(56)                  References Cited                                   8,699,869 B2     4/2014   Kamimura
                                                                     2002/0005907 Al      1/2002   Alten
               U.S. PATENT DOCUMENTS                                 2002/0008765 Al      1/2002   Ejima et al.
                                                                     2002/0051638 Al      5/2002   Arakawa
       4,389,109 A     6/ 1983   Taniguchi et al.                    2002/0080257 Al      6/2002   Blank
       4,399,327 A     8/1983    Yamamoto et al.                     2002/0082844 Al      6/2002   Van Gestel
       4,595,990 A     6/1986    Garwin                              2002/0105575 Al      8/2002   Hinde et al.
       4,658,425 A     4/ 1987   Julstrom                            2002/0140803 Al     10/2002   Gutta et al.
       4,951,079 A     8/ 1990   Hoshino et al.                      2003/0030731 Al      2/2003   Colby
       5,027,149 A     6/ 1991   Hoshino et al.
                                                                     2003/0090572 Al      5/2003   Belz et al.
       5,204,709 A     4/1993    Sato
       5,239,337 A     8/ 1993   Takagi et al.                       2003/0101052 Al      5/2003   Chen et al.
       5,245,381 A     9/ 1993   Takagi et al.                       2003/0175010 Al      9/2003   Nomura et al.
       5,253,008 A    10/1993    Konishi et al.                      2003/0179888 Al      9/2003   Burnett et al.
       5,331,149 A     7/ 1994   Spitzer et al.                      2003/0215128 Al     11/2003   Thompson
       5,459,511 A    10/1995    Uehara et al.                       2004/0080624 Al      4/2004   Yuen
       5,461,453 A    10/1995    Watanabe et al.                     2004/0103111 Al      5/2004   Miller et al.
       5,486,892 A     1/1996    Suzuki et al.                       2004/0140971 Al      7/2004   Yamazaki et al.
       5,517,021 A     5/1996    Kaufman                             2004/0192421 Al      9/2004   Kawahara
   Case 6:24-cv-00270-AM-DTG                             Document 44-3                Filed 03/20/25                Page 4 of 23


                                                      US 10,063,761 B2
                                                                 Page 3


(56)                 References Cited                                                    OTHER PUBLICATIONS
             U.S. PATENT DOCUMENTS                                    Notice of Allowance in U.S. Appl. No. 14/539,687, (dated Jul. 15,
                                                                      2016).
 2004/0196399 Al  10/2004 Stavely                                     BMW Group-Voice Commands for BMW 5 Series & 6 Series
 2005/0001024 Al   1/2005 Kusaka et al.
                                                                      MY2004 Equipped with CCC (date unknown).
 2005/0094019 Al   5/2005 Grosvenor et al.
 2005/0102141 Al   5/2005 Chikuri                                     Non-Final Office Action in U.S. Appl. No. 14/950,338 (dated Oct.
 2005/0128311 Al   6/2005 Rees et al.                                 7, 2016).
 2005/0159955 Al   7/2005 Oerder                                      Non-Final Office Action in U.S. Appl. No. 15/188,736 (dated Oct.
 2005/0168579 Al* 8/2005 Imamura .                 H03K 17/9625       12, 2016).
                                                     348/207.99       Non-Final Office Action in U.S. Appl. No. 14/614,515 (dated Mar.
 2005/0195309 Al    9/2005 Kim et al.                                 6, 2017).
 2005/0212817 Al    9/2005 Cannon et al.
                                                                      Response to Non-Final Office Action in U.S. Appl. No. 14/950,338
 2005/0216862 Al    9/2005 Sinohara et al.
 2005/0259173 Al   11/2005 Nakajima et al.                            (dated Apr. 7, 2017).
 2006/0041632 Al    2/2006 Shah et al.                                Declaration of Jeffrey C. Konicek Under Rule 1.132 in U.S. Appl.
 2006/0061663 Al    3/2006 Park                                       No. 14/950,338 (dated Apr. 7, 2017).
 2006/0097993 Al    5/2006 Hietala et al.                             Response to Non-Final Office Action in U.S. Appl. No. 15/188,736
 2006/0099995 Al    5/2006 Kim et al.                                 (dated Apr. 12, 2017).
 2006/0114337 Al * 6/2006 Rothschild .              H04N 1/32112      Declaration of Jeffrey C. Konicek Under Rule 1.132 in U.S. Appl.
                                                          348/231.3   No. 15/188,736 (dated Apr. 12, 2017).
 2006/0114338 Al *    6/2006   Rothschild ........ G06F 17/30265      Adams, Russ, "Sourcebook of Automatic Identification and Data
                                                        348/231.99    Collection," Van Norstrand Reinhold, New York, Dec. 31, 1990.
 2006/0139459 Al      6/2006   Zhong                                  Bernardi, Bryan D., "Speech Recognition Camera with a Prompting
 2006/0176305 Al*     8/2006   Areas .                   G09G 5/39
                                                                      Display," The Journal of the Acoustical Society of America, vol.
                                                            345/428   108, Issue 4, Oct. 2000, p. 1383.
 2006/0182045 Al *    8/2006   Anderson ............... H04L 67/04
                                                                      Bernardi, Bryan D., "Speech Recognition Camera with a Prompting
                                                            370/260
                                                                      Display," The Journal of the Acoustical Society of America, vol.
 2006/0189348 Al *    8/2006   Montulli             H04N 1/00244
                                                                      109, Issue 4, Apr. 2001, p. 1287.
                                                          455/556.1
                                                                      Chapman, William D. "Prospectives in Voice Response from Com-
 2006/0189349 Al      8/2006   Montulli et al.
                                                                      puters," R.L.A. Trost, "Film Slave," Nov. 1976, Elektor, vol. 2, No.
 2006/0208169 Al      9/2006   Breed
                                                                      11, pp. 1135-1137.
 2006/0223503 Al     10/2006   Muhonen et al.
                                                                      Goode, Georgianna, et al., Voice Controlled Stereographic Video
 2006/0239672 Al     10/2006   Yost et al.
 2006/0282572 Al     12/2006   Steinberg et al.                       Camera System, Proc. SPIE vol. 1083, p. 35, Three-Dimensional
 2006/0289348 Al     12/2006   Montulli et al.                        Visualization and Display Technologies; Scott S. Fisher: Woodrow
 2007/0081090 Al      4/2007   Singh                                  E. Robbins, Eds.
 2007/0100632 Al      5/2007   Aubauer                                Harif, Shlomi, Recognizing non-verbal sound commands in an
 2008/0096587 Al      4/2008   Rubinstein                             interactive computer controlled speech word recognition display
 2009/0018419 Al      1/2009   Torch                                  system, Acoustical Society of America Journal, vol. 118, Issue 2, pp.
 2010/0205667 Al      8/2010   Anderson et al.                        599-599 (2005).
 2013/0155309 Al      6/2013   Hill et al.                            Hermes operating system now also listens to "his British master's
 2013/0257709 Al     10/2013   Raffle                                 voice" (Nov. 1999).
 2014/0104197 Al      4/2014   Khosravy et al.                        Morgan, Scott Anthony, Speech command input recognition system
 2014/0282196 Al      9/2014   Zhao et al.                            for interactive computer display with term weighting means used in
 2014/0347363 Al     11/2014   Kaburlasos                             interpreting potential commands from relevant speech terms, The
 2015/0029322 Al      1/2015   Ragland et al.                         Journal of the Acoustical Society of America, vol. 110, Issue 4, Oct.
                                                                      2001, p. 1723.
          FOREIGN PATENT DOCUMENTS                                    Panasonic VLG20 lOE-S Video Intercom System with Silver door
                                                                      station.
ES            2368347           11/2011                               Philips, M.L. Adv. Resource Dev. Corp., Columbia, MD, Voice
GB            2380556            4/2003                               control of remote stereoscopic systems Voice control of remote
JP           56012632            2/1981                               stereoscopic systems, by, Southeastcon '90. Proceedings., IEEE,
JP           58080631            5/1983                               Apr. 1-4, 1990, 594-598 vol. 2.
JP           58137828            8/1983                               Reichenspurner, et al., Use of the voice-controlled and computer-
JP           60205433           10/1985                               assisted surgical system ZEUS for endoscopic coronary artery
JP            1056428            3/1989
                                                                      bypass grafting. The Journal of thoracic and cardiovascular surgery,
JP            1191838            8/1989
                                                                      Jul. 1999.
JP            1191840            8/1989
JP           64-56428            9/1990                               Robotics: the Future of Minimally Invasive Heart Surgery (May
JP            2230225            9/1990                               2000).
JP        2000-163193            6/2000                               ST Microelectronics TSH512 Hi-fi Stereo/mono Infrared Transmit-
JP         2000214525            8/2000                               ter and Stereo Sub-carrier Generator (Oct. 2005).
JP         2000227633            8/2000                               Non-Final Office Action in U.S. Appl. No. 11/163,391, (dated Sep.
JP         2000231142            8/2000                               25, 2008).
JP         2000235216            8/2000                               Response to Non-Final Office Action in U.S. Appl. No. 11/163,391
JP         2000284794           10/2000                               (dated Jan. 9, 2009).
JP         2001305642            2/2001                               Non-Final Office Action in U.S. Appl. No. 11/163,391, (dated Apr.
JP        2002-040545            2/2002                               22, 2009).
JP         2004120526            4/2004
JP         2005024792            1/2005                               Response to Non-Final Office Action in U.S. Appl. No. 11/163,391
JP         2005027002            1/2005                               (dated Sep. 22, 2009).
JP         2005333582           12/2005                               Final Office Action in U.S. Appl. No. 11/163,391, (dated Dec. 18,
KR       20050090265             9/2005                               2009).
WO      W02005050308             6/2005                               Response to Final Office Action in U.S. Appl. No. 11/163,391 (dated
WO      W02006062966             6/2006                               Jan. 11, 2010).
   Case 6:24-cv-00270-AM-DTG                            Document 44-3               Filed 03/20/25              Page 5 of 23


                                                     US 10,063,761 B2
                                                               Page 4


(56)                  References Cited                              U.S. Appl. No. 60/718,155 to Feinberg et al. (dated Sep. 15, 2005).
                                                                    Smart Commander Guide to Voice Recognition (date unknown).
                 OTHER PUBLICATIONS                                 Network Smart Capture Ver.1.2 (dated 1997).
                                                                    Partial English Translation of Network Smart Capture Ver.1.2 (date
Non-Final Office Action in U.S. Appl. No. 12/710,066, (dated May    unknown).
3, 2010).                                                           Smart Capture Smart Commander (date unknown).
Response to Non-Final Office Action in U.S. Appl. No. 12/710,066
                                                                    Partial English Translation of Smart Capture Smart Commander
(dated Aug. 3, 2010).
                                                                    (date unknown).
Final Office Action in U.S. Appl. No. 12/710,066, (dated Oct. 18,
                                                                    Final Office Action in U.S. Appl. No. 14/539,687, (dated Nov. 16,
2010).
                                                                    2015).
Response to Final Office Action in U.S. Appl. No. 12/710,066
(dated Dec. 20, 2010).                                              Response to Final Office Action in U.S. Appl. No. 14/539,687
Non-Final Office Action in U.S. Appl. No. 13/087,650, (dated Apr.   (dated Jan. 15, 2016).
19, 2012).                                                          Non-Final Office Action in U.S. Appl. No. 14/539,687, (dated Feb.
Response to Non-Final Office Action in U.S. Appl. No. 13/087,650    4, 2016).
(dated Jul. 19, 2012).                                              U.S. Appl. No. 11/163,391, filed Oct. 17, 2005, Non-Provisional
Non-Final Office Action in U.S. Appl. No. 13/717,681, (dated May    Utility, U.S. Pat. No. 7,697,827 (Apr. 13, 2010).
21, 2013).                                                          U.S. Appl. No. 12/710,066, filed Feb. 22, 2010, Non-Provisional
Response to Non-Final Office Action in U.S. Appl. No. 13/717,681    Utility, U.S. Pat. No. 7,933,508 (Apr. 26, 2011).
(dated Nov. 15, 2013).                                              U.S. Appl. No. 13/087,650, filed Apr. 15, 2011, Non-Provisional
File History, U.S. Appl. No. 11/163,391 (now issued U.S. Pat. No.   Utility, U.S. Pat. No. 8,467,672 (Jun. 18, 2013).
7,697,827) to Konicek (filed Oct. 2005).                            U.S. Appl. No. 13,717,681, filed Dec. 17, 2012, Non-Provisional
File History, U.S. Appl. No. 12/710,066 (now issued U.S. Pat. No.   Utility, U.S. Pat. No. 8,831,418 (Sep. 9, 2014).
7,933,508) to Konicek (filed Feb. 2010).                            U.S. Appl. No. 14/199,855, filed Mar. 6, 2014, Non-Provisional
File History, U.S. Appl. No. 13/087,650 (now issued U.S. Pat. No.   Utility, U.S. Pat. No. 8,824,879 (Sep. 2, 2014).
8,467,672) to Konicek (filed Apr. 2011).                            U.S. Appl. No. 14/203,129, filed Mar. 10, 2014, Non-Provisional
File History, U.S. Appl. No. 13/717,681 to Konicek (Filed Dec.
                                                                    Utility, U.S. Pat. No. 8,818,182 (Aug. 26, 2014).
2012).
                                                                    U.S. Appl. No. 14/315,544, filed Jun. 26, 2014, Non-Provisional
Notice of Allowance in U.S. Appl. No. 13/717,681, (dated Jan. 24,
                                                                    Utility, U.S. Pat. No. 8,897,634 (Nov. 25, 2014).
2014).
Request for Continued Examination in U.S. Appl. No. 13/717,681      U.S. Appl. No. 14/453,511, filed Aug. 6, 2014, Non-Provisional
(dated Mar. 14, 2014).                                              Utility, U.S. Pat. No. 8,923,692 (Dec. 30, 2014).
Non-Final Office Action in U.S. Appl. No. 13/717,681, (dated Apr.   U.S. Appl. No. 14/495,976, filed Sep. 25, 2014, Non-Provisional
3, 2014).                                                           Utility, U.S. Pat. No. 8,917,982 (Dec. 23, 2014).
Non-Final Office Action in U.S. Appl. No. 14/199,855, (dated Apr.   U.S. Appl. No. 14/539,687, filed Nov. 12, 2014, Non-Provisional
24, 2014).                                                          Utility, Pending.
Response to Non-Final Office Action in U.S. Appl. No. 14/199,855,   U.S. Appl. No. 14/614,515, filed Feb. 5, 2015, Non-Provisional
(dated May 21, 2014).                                               Utility, Pending.
Non-Final Office Action in U.S. Appl. No. 14/203,129, (dated Apr.   U.S. 2005/0128311-Rees et al., Jun. 2005, U.S. Appl. No.
25, 2014).                                                          11/163,391.
Response to Non-Final Office Action in U.S. Appl. No. 14/203,129,   U.S. 2006/0239672-Yost et al., Oct. 2006, U.S. Appl. No.
(dated Jun. 3, 2014).                                               11/163,391.
File History, U.S. Appl. No. 14/199,855 to Konicek (filed Mar.      U.S. 5,970,258-Suda et al., Oct. 1999, U.S. Appl. No. 12/710,066.
2014).                                                              U.S. 5,245,381-Takagi et al., Sep. 1993, U.S. Appl. No.
File History, U.S. Appl. No. 14/203,129 to Konicek (filed Mar.      13/087,650.
2014).
                                                                    U.S. 2004/0196399-Stavely, Oct. 2004, U.S. Appl. No.
Response to Non-Final Office Action in U.S. Appl. No. 13/717,681
                                                                    13/087,650.
(dated Jun. 30, 2014).
File History, U.S. Appl. No. 14/315,544 to Konicek (filed Jun.      U.S. 6,795,558-Matsuo, Sep. 2004, U.S. Appl. No. 13/087,650.
2014).                                                              U.S. 2005/0001024-Kusaka et al., Jan. 2005, U.S. Appl. No.
Notice of Allowance in U.S. Appl. No. 13/717,681, (dated Aug. 4,    13/717,681 U.S. Appl. No. 14/203,129.
2014).                                                              U.S. 2004/0192421-Kawahara, Sep. 2004, U.S. Appl. No.
Notice of Allowance in U.S. Appl. No. 14/199,855, (dated Jul. 14,   13/717,681.
2014).                                                              U.S. 2003/0090572-Belz et al., May 2003, U.S. Appl. No.
Notice of Allowance in U.S. Appl. No. 14/203,129, (dated Jul. 14,   13/717,681.
2014).                                                              U.S. 2005/0195309-Kim et al., Sep. 2005, U.S. Appl. No.
Notice of Allowance in U.S. Appl. No. 14/315,544, (dated Sep. 29,   14/199,855 U.S. Appl. No. 14/203,129.
2014).                                                              U.S. 5,027,149-Hoshino et al., Jun. 1991, U.S. Appl. No.
Notice of Allowance in U.S. Appl. No. 14/453,511, (dated Oct. 20,   14/199,855 U.S. Appl. No. 14/203,129.
2014).                                                              U.S. 2007/0081090-Singh, Apr. 2007, U.S. Appl. No. 14/203,129.
Notice of Allowance in U.S. Appl. No. 14/495,976, (dated Oct. 22,   U.S. 2006/0099995-Kim et al., May 2011, U.S. Appl. No.
2014).                                                              14/203, 129.
RSC-164i Datasheet, "General Purpose Microcontroller Featuring      U.S. 5,570,151-Terunuma et al., Oct. 1996, U.S. Appl. No.
Speech Recognition, Speaker Verification, and Speech Synthesis,"    14/539,687.
Sensory, Inc. (1996).                                               U.S. 2002/0008765-Ejima et al., Jan. 2002, U.S. Appl. No.
Non-Final Office Action in U.S. Appl. No. 14/539,687, (dated Apr.   14/539,687.
17, 2015).
Machine Translation of JP2000214525 to Yoji (date unknown).         * cited by examiner
 Case 6:24-cv-00270-AM-DTG    Document 44-3       Filed 03/20/25   Page 6 of 23


U.S. Patent       Aug. 28, 2018    Sheet 1 of 8             US 10,063,761 B2




        1.oc

                                                        ~12b ·
                                         ®'1ob
                14
  14a
                             FIG. IA
 Case 6:24-cv-00270-AM-DTG    Document 44-3       Filed 03/20/25   Page 7 of 23


U.S. Patent       Aug. 28, 2018    Sheet 2 of 8             US 10,063,761 B2




     D



                         FRONT VIEW


                             FIG. 1B
 Case 6:24-cv-00270-AM-DTG    Document 44-3            Filed 03/20/25     Page 8 of 23


U.S. Patent       Aug. 28, 2018         Sheet 3 of 8                US 10,063,761 B2




   10a                                                                 FRONT MIC

                                  24



                          2a~                32
                                  I                                FRONT/REAR


                     26                           34
                                  I..;._30

   10b ·
                                  -          -     REAR MIC

                                                               0
                                                       38

                                                              TOVOICE
                                                            RECOGNITION
                                                                UNIT


                             FIG. 2
              Case 6:24-cv-00270-AM-DTG                                  Document 44-3    Filed 03/20/25       Page 9 of 23




                                                                                                                                       e
                                                                                                                                       •
                                                                                                54                                     00
                                                                                                                                       •
     t•A!CS
                                                                                                                                       ~
10d--f                                                               ,.,.,.,sa       CAMERA                                            ~
                                                                                                                                       ~
                                                                                      CCD                                              ~
                                 V-otCE
                              RECOGNmoN
                                                                                                           -'H3                        =
                                                                                                                                       ~


                                    UNIT
                                                                           1-
                                                                                     I
                                                                                     I
                                                                                     I           VtEW
                                                                                     I          FINDER
                                                                                                                            .,-50      ~
                           r::::::-,-,=,L57                                                          ...
   68--.
           VIE\./!/
          FINDER
                           ~ACKER                                          1
                                                                                                     f
                                                                                                      l
                                                                                                      1    r        OTHER
                                                                                                                   CAMERA
                                                                                                                   CONTROL
                                                                                                                                      ~
                                                                                                                                        N
                                                                                                                                      '"CIO
                                                                                                                                        N
                                                                                                                                       ....
                                                                                                                                       0

         SENSORS              VlEWflNDER                                                                                       48      CIO

                             USE DETECTOR                                                 CP.,MERA

                                    WINK
                                                                                         CONTROLLER               f' M6'+01~           rJ'1
                                                                                                                                       =-
                                  DETECTOR
                                                                                               40                                      ('D

                                                                                                                                       .....
                                                                                                                                       ('D


                                                                                                                                       .i;...



                               TOUCH PAD
                                 DEVICE
                                                                                                     lLL+
                                                                                                     .7
                                                                                                          . Jg~R
                                                                                                                                       ....
                                                                                                                                       0

                                                                                                                                       CIO




   [~~~:~. J
                                                                                                                               46
                                                                                                STORAGE
                                                                                                 ME.DIA           PICTURE
                                                                          '62                        RAN
                                                                                                                  EDITOR               d
                              C       ".,,~.,,.,.,,.,,.,.,.,.,,.,.nv,.
                                                                                                            44 _ _ _......             rJl.
                                  REMOTE                                                 LCD                                    46a     "'""'
                                   LIGHT                                             DtSPLAY                                          '"= =
                                  SENSOR
                                            --
                                                                                                                                       0--,
                                                                                                                                       w
                                       , .... 55                                               42                                     ~
                                                                                                                        FIG. 3         0--,

                                                                                                                                       "'""'
                                                                                                                                       =
                                                                                                                                       N
Case 6:24-cv-00270-AM-DTG                   Document 44-3    Filed 03/20/25   Page 10 of 23


U.S. Patent                Aug. 28, 2018          Sheet 5 of 8          US 10,063,761 B2




                                           CAME.Rf\
     FIG~ 4                                 TOP




                                           -76

                                    .~---~
          72..............,...,,..,...·u



                                             0         · ........... SHUTTER BUTTON
                                                                 OR TOUCH PAD
Case 6:24-cv-00270-AM-DTG   Document 44-3    Filed 03/20/25     Page 11 of 23


U.S. Patent      Aug. 28, 2018    Sheet 6 of 8            US 10,063,761 B2




                                                 tLVSTRATl\lE TOUGHP:i\D
                                                 OVEHLAY V\lffH CUTOUTS



                                 FIG. 5A
Case 6:24-cv-00270-AM-DTG   Document 44-3    Filed 03/20/25   Page 12 of 23


U.S. Patent      Aug. 28, 2018    Sheet 7 of 8          US 10,063,761 B2




                                             ROUND DIG ff PATTERN WiTH
                                            CENTER ACTIVATION PATTERN
Case 6:24-cv-00270-AM-DTG   Document 44-3    Filed 03/20/25   Page 13 of 23


U.S. Patent      Aug. 28, 2018    Sheet 8 of 8          US 10,063,761 B2




                            FIG. 5C
  Case 6:24-cv-00270-AM-DTG                          Document 44-3               Filed 03/20/25             Page 14 of 23


                                                   US 10,063,761 B2
                              1                                                                  2
   AUTOMATIC UPLOAD OF PICTURES FROM                               front of the camera as when taking a self portrait. Still
               A CAMERA                                            another problem with prior art voice activated cameras is
                                                                   that they associate one vocalization or utterance to one
           CROSS REFERENCE TO RELATED                              camera operation. Thus, the user must remember which
                       APPLICATIONS                              5 command word is to be spoken for which camera operation.
                                                                   This is overly constraining, unnatural, and significantly
   This application is a continuation of pending application       reduces the utility of adding voice recognition to the camera.
Ser. No. 14/614,515, filed Feb. 5, 2015, which claims the             One prior art implementation of voice recognition allows
benefit of pending application Ser. No. 14/539,687, filed          for menu driven prompts to help guide the user through the
Nov. 12, 2014, which claims the benefit of application Ser. 10 task of remembering which command to speak for which
No. 14/495,976 (now issued U.S. Pat. No. 8,917,982), filed         camera function. This method however requires that the user
Sep. 25, 2014, which claims the benefit of application Ser.
                                                                   be looking at the camera's dedicated LCD display for the
No. 14/453,511 (now issued U.S. Pat. No. 8,923,692), filed
                                                                   menu. One aspect of the present invention provides for the
Aug. 6, 2014, which claims the benefit of application Ser.
                                                                   menus to be displayed in the electronic view finder of the
No. 14/315,544 (now issued U.S. Pat. No. 8,897,634), filed 15
Jun. 26, 2014, which claims the benefit of application Ser.        camera and be manipulated with both voice and gaze.
No. 14/203,129 (now issued U.S. Pat. No. 8,818,182), filed         Another aspect of the present invention incorporates touch-
Mar. 10, 2014, which claims the benefit of application Ser.        pad technology which is typically used in laptop computers,
No. 13/717,681 (now issued U.S. Pat. No. 8,831,418), filed         such technology being well know in the art, as the camera
Dec. 17, 2012, which claims the benefit of application Ser. 20 input device for at least some functions.
No. 13/087,650 (now issued U.S. Pat. No. 8,467,672), filed
Apr. 15, 2011, which claims the benefit of application Ser.                    SUMMARY OF THE INVENTION
No. 12/710,066 (now issued U.S. Pat. No. 7,933,508), filed
Feb. 22, 2010, which claims the benefit of application Ser.           A self-contained camera system, according to various
No. 11/163,391 (now issued U.S. Pat. No. 7,697,827), filed 25 aspects of the present invention, includes voice recognition
Oct. 17, 2005, all of which are herein incorporated by             wherein multiple different vocalizations can be recognized
reference. Reference is also made to related application Ser.      and wherein some such recognized vocalizations can be
No. 14/199,855 (now issued U.S. Pat. No. 8,824,879), filed         associated with the same camera command. Another aspect
Mar. 6, 2014.                                                      of the invention provides for multiple microphones disposed
                                                                30 on or in the camera system body and be operable so that the
          BACKGROUND OF THE INVENTION                              user can be anywhere around the camera system and be
                                                                   heard by the camera system equally well. According to other
   Digitally-based and film-based cameras abound and are           aspects of the present invention, the camera system view-
extremely flexible and convenient. One use for a camera is         finder includes gaze tracking ability and in exemplary pre-
in the taking of self portraits. Typically, the user frames the 35 ferred embodiments, gaze tracking is used alone or in
shot and places the camera in a mode whereby when the              combination with other aspects of the invention to, for
shutter button is depressed; the camera waits a predeter-          example, manipulate menus, improve picture taking speed,
mined time so that the user may incorporate himself back           or improve the auto focus capability of the camera. Other
into the shot before the camera actually takes the picture.        aspects of the present invention, such as the addition of
This is cumbersome and leads to nontrivial problems. Some- 40 touchpad technology and gesture recognition provide for a
times the predetermined delay time is not long enough.             improved and more natural user interface to the camera
Other times, it may be too long. For participates who are in       system.
place and ready to have their picture taken, especially               Thus, it is an object of the invention to provide an
children, waiting with a smile on their face for the picture to    improved self-portrait mode for a camera system. It is
be snapped by the camera can seem endless even if it is just 45 further an object of the invention to provide an improved
a few seconds long. Additionally, many who might like to be        user interface for a camera system. It is yet a further object
included into a shot find themselves not able to be because        of the invention to make a camera system more user friendly
they have to take the picture and it is simply too much            with a more natural and intuitive user interface. It is still a
trouble to set up for a shutter-delayed photograph.                further object of the invention to broaden the capabilities of
   Voice recognition techniques are well known in the art 50 the camera system. It is further an object of the invention to
and have been applied to cameras, see for example, U.S. Pat.       more easily allow a user to compose a shot to be taken by
Nos. 4,951,079, 6,021,278 and 6,101,338 which are herein           the camera system. It is still further an object of the
incorporated by reference. It is currently possible to have        invention to improve image quality of pictures taken by the
fairly large vocabularies of uttered words recognized by           camera system. It is yet another object of the invention to
electronic device. Speech recognition devices can be of a 55 improve the speed of picture taking by the camera system.
type whereby they are trained to recognize a specific per-
son's vocalizations, so called speaker dependent recogni-                 BRIEF DESCRIPTION OF THE DRAWINGS
tion, or can be of a type which recognizes spoken words
without regard to who speaks them, so called speaker                  FIG. lA is an exemplary perspective view of the rear
independent recognition. Prior art voice operated cameras 60 (back) of the camera system according to various aspects of
have several defects remedied or improved upon by various          the present invention.
aspects of the present invention more fully disclosed below.          FIG. lB is an exemplary perspective view of the front of
One such problem is that in self portrait mode, the camera         the camera system according to various aspects of the
may snap the picture while the user is uttering the command.       present invention.
Another defect is that the microphone coupled to the voice 65         FIG. 2 is a functional representation of automatic micro-
recognition unit is usually mounted on the back of the             phone selection circuitry that may be uses in various aspects
camera. This placement is non-optimal when the user is in          of the present invention.
  Case 6:24-cv-00270-AM-DTG                         Document 44-3               Filed 03/20/25            Page 15 of 23


                                                  US 10,063,761 B2
                             3                                                                  4
    FIG. 3 shows an exemplary functional block diagram of         PDAs, IPODs, etc.; entertainment devices such as TVs,
an inventive camera system implementing various aspects of        video recorders, etc; and other areas.
the present invention.                                               To illustrate this embodiment using the example of the
    FIG. 4 shows an exemplary embodiment of a wink                camera system having microphones on its frontside and
detector according to various aspects of the present inven- 5 backside given above, each of these microphones is coupled
tion.                                                             to a voice recognition unit. When an utterance is received,
    FIG. SA shows an exemplary touchpad overlay with              each voice recognition unit recognizes the utterance. The
cutouts according to various aspects of the present inven-        camera controller then selects which voice recognition unit's
tion.                                                             recognition to accept. This is preferably based on the energy
    FIG. SB shows an exemplary touchpad overlay with 10 received by each microphone using circuitry similar to FIG.
cutouts according to various aspects of the present inven-        2 Alternatively, the selection of which voice recognition unit
tion.                                                             to use would be a static selection. Additionally, both recog-
    FIG. SC shows an exemplary touchpad overlay with              nizers' recognition would be considered by the camera
cutouts according to various aspects of the present inven-        controller with conflicting results resolved by voting or
tion.                                                          15 using ancillary information (such as microphone energy
                                                                  content).
      DESCRIPTION OF PREFERRED EXEMPLARY                             An embodiment using multiple algorithms preferably has
                      EMBODIMENTS                                 one voice recognition algorithm associated with the fron-
                                                                  tside microphone and, a different voice recognition algo-
    One aspect of the present invention solves several of the 20 rithm associated with the backside microphone. Preferably,
problems of the prior art voice recognition cameras in that       the voice recognition algorithm associated with the frontside
this aspect provides for more than one microphone to be the       microphone is adapted to recognize vocalizations uttered
source to the recognition unit. With reference to FIG. 1, this    from afar (owing to this microphone probably being used in
aspect of the present invention provides for at least two         self-portraits), while the voice recognition algorithm asso-
microphones to be used, one microphone, 10b, placed on the 25 ciated with the backside microphone is optimal for closely
back of the camera and one microphone, 10a, placed on the         uttered vocalizations. Selection of which algorithm is to be
front, either of which can receive voice commands. In a first     used as the camera controller input is preferably as above.
preferred embodiment of this aspect of the invention, a           Alternatively, as above, the selection would be by static
detection device determines which microphone is to be used        selection or both applied to the camera controller and a
as the input to the recognition unit based upon the strength 30 voting scheme used to resolve discrepancies. While the
of the voice signal or sound level received by each of the        above example contemplates using different voice recogni-
microphones. In another preferred embodiment, the outputs         tion algorithms, there is no reason this must be so. The same
of the microphones are combined as the input to the voice         algorithms could also be used in which case this example
recognition unit. In still another embodiment, the user can       functions the same as multiple voice recognition units.
select which microphone is used as the input to the voice 35         It is further contemplated in another aspect of the inven-
recognition unit, for example, by a switch or by selection        tion that the voice recognition subsystem be used in con-
through a camera menu.                                            junction with the photograph storing hardware and software.
    Automatic microphone selection is preferred and with          In a preferred use of this aspect of the invention, the user
reference to FIG. 2, microphones 10a and 10b are each             utters names to be assigned to the photographs during
amplified by amplifiers 20 and 22 respectively. Diode 24, 40 storage and, later, utter then again for recall of the stored
capacitor 28 and resister 32 form a simple energy detector        image. Thus, according to this aspect of the present inven-
and filter for microphone lOa. The output of this detector/       tion, a stored photograph can be recalled for display simply
filter is applied to one side of a comparator, 36. Similarly,     by uttering the associated name of the photograph. The name
diode 26, capacitor 30, and resister 34 form the other energy     association is preferably by direct association, that is, the
detector associated with microphone lOb. The output of this 45 name stored with the picture. In a second preferred embodi-
filter/detector combination is also applied to comparator 36.     ment, the photograph storage media contains a secondary
Thus, the output of this comparator selects which amplified       file managed by the camera system and which associates the
microphone output is passed to the voice recognition unit         given (i.e., uttered) name with the default file name assigned
through multiplexer 38 based on which amplified micro-            by the camera system's storage hardware and/or software to
phone output contains the greatest energy.                     50 the photograph when the photograph is stored on the storage
    In yet another novel embodiment of this aspect of the         media. According to the second embodiment, when a pho-
invention, the multiple microphones are preferably associ-        tograph is to be vocally recalled for viewing, the camera
ated with multiple voice recognition units or, alternatively,     system first recognizes the utterance (in this case, the name)
with different voice recognition algorithms well know in the      which will be used to identify the picture to be recalled. The
art. The outputs of these multiple voice recognition units or 55 camera system then scans the association file for the name
different voice recognition algorithms are then coupled to        which was uttered and recognized. Next, the camera system
the camera controller (FIG. 3 element 40). The camera             determines the default name which was given to the photo-
controller preferably selects one of these outputs as being       graph during storage and associated with the user-given
the camera controller's voice recognition input. Alterna-         name (which was uttered and recognized) in the association
tively, the camera controller accepts the outputs of all the 60 file. The camera system then recalls and displays the pho-
voice recognition units or algorithms and preferably uses a       tograph by this associated default name.
voting scheme to determine the most likely recognized                In another preferred embodiment, the voice recognition
command. This would obviously improve recognition rates           subsystem of the improved camera system recognizes at
and this aspect of the invention is contemplated to have          least some vocalized letters of the alphabet and/or numbers
utility beyond camera systems including, by way of example 65 so that the user may assign names to pictures simply by
and not limitation, consumer computer devices such as PCs         spelling the name by vocalizing letters and/or numbers.
and laptops; portable electronic devices such as cell phones,     Another aspect of the invention provides that stored photo-
  Case 6:24-cv-00270-AM-DTG                          Document 44-3                Filed 03/20/25             Page 16 of 23


                                                    US 10,063,761 B2
                              5                                                                   6
graphs be categorized on the storage media through use of          same word and, as illustrated above, different words would
voice-recognized utterances being used to reference and/or         also be considered different utterances as well.
create categories labels and that, additionally, the recognizer       Since voice recognition is not always 100 percent accu-
subsystem preferably recognize key words for manipulating          rate, another aspect of the present invention contemplates
the stored pictures. For instance, according to this aspect of 5 that the camera system or a remote device, or both, prefer-
the invention, the inventive camera system would recognize         ably provide an indication that a voice command was or was
the word "move" to mean that a picture is to be moved to or        not understood. Thus, using the self portrait example above,
from a specific category. More specifically, "move, Christ-        if the user vocalizes the command to take a picture but the
mas" would indicate that the currently referenced photo-           camera system does not properly recognize the vocalization
                                                                10 as being something it understands, the camera system would
graph is to be moved to the Christmas folder. An alternative
                                                                   beep, or light an LED, etc. to indicate it's misrecognition.
example is "John move new year's" indicating that the
                                                                   Because of the relatively small number of anticipated cam-
picture named john (either directly named or by association,
                                                                   era commands and allowing for multiple vocalizations to
depending on embodiment) be moved to the folder named              command the same action, it is expected that the recognition
"New Year's". It is further contemplated that the folder 15 rates will be quite high and fairly tolerant of extraneous
names may be used for picture delineation as well. For             noise without necessarily resorting to the use of a highly
instance, the picture "John" in the Christmas folder is not the    directional or closely coupled (to the user's mouth) micro-
same as the picture "John" in the Birthday folder and the          phone though the use of such devices is within the scope of
former may be referenced by "Christmas, John" while the            the invention.
latter is referenced by "Birthday, John".                       20    It is anticipated that the user of the inventive camera
   Another aspect of the present invention provides that the       system may be too far away from the camera system for the
voice recognition camera system be capable of associating          camera system to recognize and understand the user's vocal-
more than one vocal utterance or sound with a single               izations. Thus, another aspect of the invention provides that
command. The different utterances are contemplated to be           the camera is equipped with a small laser sensor (FIG. 1
different words, sounds or the same word under demonstra- 25 element 18) or other optically sensitive device such that
bly different conditions. As an example, the voice recogni-        when a light of a given frequency or intensity or having a
tion camera system of this aspect of the present invention         given pulse sequence encoded within it is sensed by the
allows the inventive camera system to understand, for              camera system equipped with the optically sensitive device,
example, any of "shoot", "snap", "cheese", and a whistle to        the camera system immediately, or shortly thereafter (to give
indicate to the camera system that a picture is to be taken. 30 the user time to put the light emitting device down or
In another example, perhaps the phrase and word "watch the         otherwise hide it, for example) takes a picture. The light
birdie" and "click" instruct the camera to take the picture. It    emitting device is preferably a laser pointer or similar, stored
is further envisioned that the user select command words           within the camera housing when not needed so as to not be
from a predetermined list of the camera command words and          lost when not in use. Additionally, the light emitting device's
that he then select which words correspond to which com- 35 power source would preferably be recharged by the camera
mand. It is alternatively envisioned that the association of       system's power source when so stored. In another embodi-
multiple recognizable words to camera commands may also            ment, it is also contemplated that the light emitting device
be predetermined or preassigned. In another alternate              may be housed in a remotely coupled display which is
embodiment, the inventive camera system allows the user to         disclosed below. The light emitting device preferably
teach the camera system which words to recognize and also 40 includes further electronics to regulate the emitted light
inform the camera system as to which recognized words to           intensity or to encode a predetermined pulse sequence
associate with which camera commands. There are obvi-              (on-off pulses for example) or otherwise onto the emitted
ously other embodiments for associating recognized vocal-          light, all of which techniques are well known in the art,
izations to camera commands and the foregoing embodi-              which the camera system of this aspect of the present
ments are simply preferred examples.                            45 invention would receive and recognize by methods well
   In another embodiment of this aspect of the present             known in the art.
invention, the user has his uttered commands recognized               Another aspect of the present invention provides for there
under demonstrably different conditions and recognized as          being a predetermined delay introduced between recogniz-
being different utterances. For instance, according to this        ing a voice command and the camera actually implementing
aspect of the invention, the voice operated camera system 50 the command. This aspect of the invention allows time, for
operates so that it understand commands vocalized close to         example, for the user to close his mouth or for others in a
the camera (as if the user is taking the picture in traditional    self-portrait shot to settle down quickly before the picture is
fashion with the camera back to his face) and significantly        actually taken. In a first preferred embodiment of this aspect
farther away (as if the user is taking a self portrait picture     of the invention, the delay is implemented unconditionally
and is part of the shot and thus has to vocalize loudly to the 55 for at least the picture taking command. In a second pre-
front of the camera.) For this illustration, in a preferred        ferred embodiment of this aspect of the invention, the delay
embodiment the user teaches the words to the camera under          introduced is dependent upon from where the command
the different conditions anticipated. For example, the user        came relative to the camera system. For instance, if the
would teach the camera system by speaking the word "snap"          camera system recognized the command as coming from the
close to the camera and inform the camera that this is a 60 frontside microphone, delay is used, but if the command
picture taking command and would then stand far from the           comes from the backside microphone, then no delay is
camera and say "snap", thus teaching another utterance, and        implemented. The simple energy detection circuitry of FIG.
instruct the camera that this is also a picture taking com-        2, described above is easily adapted for this function. In an
mand. These two different utterances of the same word              alternative embodiment, implementation of the delay is
under different conditions would be stored and recognized as 65 dependent upon the location of the microphone due to the
different utterances. This aspect of the invention contem-         orientation of the flip-up or swivel LCD display when the
plates that the words vocalized and/or taught need not be the      microphone is attached to the LCD display (FIG. 1, element
  Case 6:24-cv-00270-AM-DTG                          Document 44-3               Filed 03/20/25             Page 17 of 23


                                                   US 10,063,761 B2
                              7                                                                  8
12c). For example, if the microphone in the display sub-          well known in the art, see for example U.S. Pat. No.
housing is oriented forward relative to the camera body then      6,758,563 to Levola which is herein incorporated by refer-
delay is implemented, if the microphone is not oriented           ence. In this aspect of the present invention, menus typically
forward then no delay is introduced. Determining the ori-         used for user interface to the camera are electronically
entation of this microphone relative to the camera body is 5 superimposed in the image in the EVF. The gaze tracker
known in the art and would typically be done with switches        subsystem is operable for determining the area or approxi-
or other sensor devices. Another preferred embodiment of          mate location of the viewfinder image at which the user is
this aspect of the invention implements the delay for only        gazing. Thus, by the user looking at different areas of the
certain commands, such as the command to take a picture.          EVF image, the gaze tracker subsystem informs the camera
In yet another preferred embodiment, whether the delay is 10 system so that a mouse-like pointer or cursor is moved by
implemented at all is selectable by the user.                     the camera system to the area of the EVF image indicated by
   Another aspect of the present invention provides that the      the gaze tracking device to be the area the user is viewing.
camera LCD display (FIG. 1, element 14) employs touch             Preferably, the user then speaks a command to indicate his
sensitive technology. This technology is well known in the        selection of the item pointed to by the pointer image.
computer art and can be any of resistive, capacitive, RF, etc 15 Alternatively, the user may indicate through other methods
touch technology. This aspect of the present invention            that this is his selection, such as staring at a position in the
allows the user to interact with menus, features and func-        image for a minimum predetermined time or pressing a
tions displayed on the LCD display directly rather than           button, etc. As an example, the EVF displays icons for flash,
through ancillary buttons or cursor control. For those            shutter speed, camera mode, etc (alone or superimposed on
embodiments of touch technology requiring use of a stylus, 20 the normal viewfinder image.) By gazing at an icon, a small
it is further contemplated that the camera body house the         compositely rendered arrow, cursor, etc., in the EVF image
stylus (FIG. 1, element 14a) for easy access by the user.         is caused by the gaze tracker subsystem to move to point to
   According to another aspect of the present invention, it is    the icon at which the user is determined to be gazing by the
envisioned that the current dedicated LCD display (FIG. 1,        gaze tracking subsystem, for instance, the camera mode icon
element 14) incorporated on a digital camera be made to be 25 as an example here. Preferably, the user then utters a
removable and be extendable from the camera by cable,             command which is recognized by the camera system as
wireless, optical, etc. interconnection with the camera. In       indicating his desire to select that icon, for example, "yes"
one embodiment, this remote LCD would be wire-coupled             or "open".
to receive display information from the digital camera               Alternatively, the icon is selected by the user gazing at the
through a pluggable port. In another embodiment, the 30 icon for some predetermined amount of time. When the icon
remote LCD would be wirelessly coupled to the digital             is selected by whatever method, the EVF image shows a
camera through any of several technologies well understood        drop down menu of available camera modes, for example,
in the art including, by way of example only, Bluetooth,          portrait, landscape, fireworks, etc. The user, preferably, then
WIFI (802.11 a/b/g/n), wireless USB, FM, optical, etc. In a       utters the proper command word from the list or he may
another embodiment of this aspect of the invention, the 35 optionally gaze down the list at the mode he desires where-
remotely coupled display would serve the dual purpose of          upon the gaze tracker subsystem directs that the pointer or
being a remote input terminal to the camera system in             cursor in the EVF image moves to the word and, preferably
addition to being a dedicated display for the camera system.      highlighting it, indicates that this is what the camera system
Preferably, as mentioned earlier, the display is touch sensi-     thinks the user want to do. The user, preferably, then utters
tive using any of the touch sensitive technology well under- 40 a command indicating his acceptance or rejection of that
stood in the art such as resistive, capacitive, RF, etc.,         mode in this example, such as 'yes' or 'no'. If the command
methods mentioned above. Touch commands input by the              uttered indicates acceptance, the camera system implements
user would be coupled back to the camera system as needed.        the command, if the command indicates rejection of the
It is also contemplated that the remote display house the         selected command, the camera system preferably moves the
stylus if one is required.                                     45 pointer to a neighboring command. To leave a menu, the
   In another preferred embodiment, the remotely coupled          user may utter 'end' to return to the menu above or 'home'
display has buttons on it to control the camera system. In        to indicate the home menu. Preferably, the user can also
another embodiment, the remotely coupled display contains         manipulate the pointer position by uttering commands such
the microphone for receiving the voice commands of the            as "up", "down", "left" and "right" to indicate relative
user, digitizing the received voice, analyzing and recogniz- 50 cursor movement. In this way, the user interacts with the
ing the vocalization locally and sending a command to the         camera in the most natural of ways, through sight and sound
camera system. In another preferred embodiment, the               cooperatively. While the above example used the preferred
remotely coupled display containing the microphone simply         combination of gaze and voice recognition, it is contem-
digitizes the vocalization received by the microphone and         plated that gaze tracking be combined with other input
transmits the digitized vocalization to the camera system for 55 methods such as pushing buttons (like a mouse click) or
recognition of the vocalization by the camera system itself.      touch input disclosed below, or gesture recognition dis-
In all embodiments of the wireless remote display, it is          closed below, etc. as examples.
preferred that the display contain its own power source,             Another application of this aspect of the invention uses
separate from the power source of the camera. It is also          gaze tracking to assist the auto focus (AF) capability of the
contemplated that the display's separate power source may 60 prior art camera. AF generally has too modes, one mode uses
be coupled to the camera's power source when the display          the entire image, center weighted, to determine focus,
is 'docked' to the camera so that both may share power            another mode allows different areas of the image to have
sources or so that the camera's power source may recharge         greater weight in determining focus. In the second mode, the
the display's power source.                                       user typically pre-selects the area of the framed image that
   According to another aspect of the present invention, the 65 he wishes to be over-weighted by the AF capability. This is
electronic view finder (EVF) typically used on modern             cumbersome in that the user must predict where he wants the
digital cameras includes a gaze tracking capability which is      weighting to be ahead of time, thus, this embodiment of this
  Case 6:24-cv-00270-AM-DTG                          Document 44-3               Filed 03/20/25             Page 18 of 23


                                                   US 10,063,761 B2
                              9                                                                 10
aspect of the invention provides that the gaze tracker sub-         locks the focus or provides continually focusing while the
system inform the AF capability of the camera system as to          person's touch is sensed and wherein a tap of the touchpad
the location of the image that the user is gazing and that the      then trips the shutter. Preferably, the camera system enforces
AF capability use this information to weight this area of the       a maximum amount of time that the AF may be locked so
image when determining focus. It is contemplated that the 5 that action photographs will not be badly focused. Auto-
AF system may only provide for discrete areas of the image          matically locking the AF settings for a maximum predeter-
to be so weighted and in this case, preferably, the AF              mined time after AF activation or continuously focus upon
capability selects the discrete area of the image closest to        AF activation is also applicable to the prior art AF button
that being gazed upon.                                              activation method described below. While a computer-like
   Another embodiment of this aspect of the invention uses 10 touchpad was used to illustrate the above preferred embodi-
the gaze tracker to enable the flash of the camera system.          ments of this aspect of the invention, the touch sensitive
Flash is common used to "fill" dimly lit photographic scenes        input device could be comprised of other structure, for
but sometimes this is not warranted. Other times, it is desired     instance, the aforementioned touch-sensitive LCD display.
to have "fill" flash because the area of the scene desired is       Also, throughout this disclosure, the word 'continuous' (and
dark but the rest of the scene is quite bright (taking a picture 15 its variants, e.g., continually, etc.) should be construed to
in shade for example) and the camera does not automatically         mean discretely continuous in addition to its analogue-world
provide "fill" flash because the overall image is bright            definition.
enough. Typically, the amount of "fill" flash the camera will          In a second preferred embodiment of this aspect of the
give is determined by the camera measuring the brightness           invention, the touchpad is placed on the back of the camera
of the scene. The inventive camera system with gaze track- 20 (FIG. 1 element 12b) and is operable for manipulated the
ing is used to enhance the prior art method of determining          cursor and menus shown on the LCD or EVF display. This
the desire and amount of "fill" flash in that the inventive         provides a much more natural and computer-like interface to
camera system gives more weight, in determining the scene           the camera system. It is also contemplated that either
brightness, to the area of the scene indicated by the gaze          embodiment of this aspect of the invention may be coupled
tracker as being gazed upon.                                     25 with voice recognition so that the user may interact with the
   Another aspect of the present invention adds touchpad            camera by touchpad manipulation in combination with voice
technology to the prior art camera system. Use of the word          commands. Additionally, combined with gaze tracking, the
'touchpad' throughout this disclosure should be construed to        user can interact with the camera through touch, voice, and
mean either the touchpad itself or the touchpad with any or         gaze (i.e., sight) to manipulate menus, control the camera
all of a controller, software, associated touchpad electronics, 30 system, compose the shot, focus, zoom, enable/disable flash,
etc .. This touchpad technology is similar to the touchpad          select macro or panoramic camera modes, etc.
mouse pad used on laptop computers which is also well                  One of the most annoying properties of the modern digital
understood in the computer art. In a first preferred embodi-        camera is the shutter delay that occurs when a picture is
ment, the EVF (or LCD display) displays the menus as                taken. That is, the delay between the user depressing the
above and the user moves the cursor or mouse pointer 35 shutter button and the camera actually taking the picture.
around this image by use of his finger on the touchpad. This        This delay can be as much as one second on some modem
operation is virtually identical to that of the mouse in laptop     digital cameras and is typically due to the camera focusing
computers and is well understood in the art. Preferably, the        and then taking the picture after the shutter button is
touch pad is mounted on the top of the camera at the location       depressed. One solution to this implemented by prior art
typically used for the shutter button (FIG. 1 element 12a). It 40 cameras is for the camera to sense when the shutter button
is also preferred that the touchpad software implement              is depressed half way, then focus and lock the AF settings of
'tapping' recognition, also well known in the art, so that the      the camera while the shutter button remains half way
user may operate the shutter button, make a selection, etc.         depressed, so that when the user depresses the shutter button
simply by tapping the touchpad with his index finger, much          the rest of the way, the picture is taken almost instanta-
the same way modem laptop driver software recognizes 45 neously. This solution is more often than not misused or
tapping of the touchpad as a click of the mouse button. It is       misunderstood by novice users or those who do not use their
also currently preferred that tapping recognition is used to        camera regularly and can also result in blurred action
make selections on the menus shown in the EVF, LCD                  photographs. Thus, one aspect of the present invention
display, or otherwise.                                              provides that the viewfinder be coupled to a unit for detect-
   Another application of this aspect of the invention uses 50 ing when the user's eye is viewing through the viewfinder.
the touchpad to inform the camera system to zoom the lens           When viewfinder use is detected, the inventive camera
simply by the user stroking his finger from front to back (for      system preferably enables the auto focus system to continu-
example, to zoom) or back to front over the touchpad (for           ally focus thus ensuring that the shot is focused when the
example, to wide angle). For this aspect of the present             camera system is commanded to take a picture. Preferably,
invention, a preferred embodiment has the touchpad on the 55 the gaze tracker is used for this determination though this
barrel of the lens. This is a most natural way to control zoom      aspect of the invention may be implemented without gaze
since the movement of the finger is a gesture with the user         tracking.
'pulling' the object to be photographed closer (front to back          In a preferred embodiment of this aspect of the invention
stroke means zooming) or 'pushing' the object to be pho-            without gaze tracking, the viewfinder is equipped with a
tographed away (back to front stroke means wide angle). 60 small light emitting device and a light detection device both
According to another aspect of the invention, the touchpad          well known in the art. With reference to FIG. 4, the light
replaces the shutter button functionality and the preferable        emitting device, 70, emits a frequency or frequencies oflight
location for this embodiment is top mounted. Preferably, the        some of which is reflected from the eyeball when a user is
touchpad is tapped once to focus the camera and/or lock the         viewing through the viewfinder, 74. The light detection
AF and tapped a second time to trip the shutter. Alterna- 65 device, 72, is operable for sensing this reflected light and an
tively, the inventive camera system simply senses the per-          amplifier (not shown) coupled to device 72, amplifies the
son's touch of the touchpad, auto focuses the camera and/or         signal from the light detection device, 72. Obviously, ifthere
  Case 6:24-cv-00270-AM-DTG                          Document 44-3               Filed 03/20/25             Page 19 of 23


                                                   US 10,063,761 B2
                             11                                                                  12
is no one viewing through the viewfinder, then there will be       the user. In a first preferred embodiment of this aspect of the
no reflected light from the eyeball and the amplifier output       invention, the camera system is internally equipped with
will be near ground, however, when a person peers into the         wireless interface technology by a wireless interface to the
viewfinder, light will be reflected from his eyeball and the       camera controller for interfacing directly to a photo printer
output of the amplifier will be significantly larger. Thus, this 5 or other photo rendering device. Currently preferred is WIFI
system and method provides a way for detecting the use of          (i.e., IEEE 802.11 a/b/g/n) with alternatives being Bluetooth,
the viewfinder by the user without providing gaze tracking         or wireless USB all of which are known in the art. By
ability. It is contemplated that this system and method be         connecting via WIFI, the inventive camera system can
used with both EVF and optical (i.e., traditional) viewfinders     preferably access other devices on the LAN associated with
and that viewport, 76, may be an LCD, optical lens, etc. 10 the WIFI for the storing of pictures onto a computer,
Shroud 78 typically included on modem viewfinders helps            network drive, etc. In additional, preferably, devices on the
to improve viewfinder use detection by cutting down on             network can access the camera system and the pictures
extraneous light reaching device 72 when the user is viewing       within it directly and also access camera settings, upload
through the viewfinder. It should be noted that the location       new software or updates to the camera system, etc. Since one
of elements 70 and 72 in FIG. 4 is exemplary only and other 15 of the big complaints with wireless technology for small
placements of these elements are within the scope of this          devices is the often-obtrusive antenna, it is greatly preferred
aspect of the invention. While the above embodiment of this        for this aspect of the invention that the wireless hardware
aspect of the invention relied on eyeball reflectivity, in an      including antenna be completely contained within the body
alternate embodiment it is contemplated that the viewfinder        of the camera system.
use detect can be made with a light source and light detector 20      In a second preferred embodiment of this aspect of the
juxtaposed wherein the eye interrupts the light between the        invention, the inventive camera system is equipped with
two thus indicating viewfinder use, or that the shroud be          software and hardware coupled to the camera controller
fitted with a touch sensor around its outer ring that would        allowing independent communication with a computer net-
sense the person's contact with the shroud when the view-          work for the primary purpose of communicating its pictures
finder is in use. Additionally, it is contemplated that embodi- 25 over the internet. Currently preferred is WIFI which is
ments of this aspect of the invention may employ filters or        typically connected by LAN, routers, etc. to the internet and
other structures to help minimize false viewfinder use detec-      which usually allows WIFI-equipped devices to indepen-
tion due to sunlight or other light sources shining on detector    dently connect to the internet. Alternatively, the invention
72 when a user is not viewing through the viewfinder.              contemplates the use of wired LAN, cellular data networks,
    Another aspect of the present invention is to employ a 30 etc. as the interconnection technology used by the inventive
wink-detector as part of the viewfinder of the camera.             camera system. The inventive camera system is further
Preferably, the gaze tracker is modified for this purpose.         preferably equipped with a microbrowser that runs on the
Alternatively, the previously disclosed viewfinder use detec-      inventive camera system's camera controller which is pref-
tor may also be employed. All that is required is to addi-         erably a microprocessor. It is contemplated that some
tionally detect the abrupt change in reflected light from the 35 embodiments may not be required a microbrowser (see
eye that would be caused by the eyelid wink. The wink-             enhancement below). Design and operation of micro-
detector is contemplated to be used for shutter trip and/or AF     browser-equipped electronic devices for use with the inter-
activation or lock among other things. It is contemplated that     net is well known in the art and need not be discussed
it be used in the aforementioned application wherein the           further. The camera system LCD display serves the purpose
menus of the camera are displayed on the EVF. In this case, 40 of displaying internet webpages when the user is navigating
the wink detector preferably acts as a user selection detector     the internet in addition to its function as the camera display.
device in that the user may select an item pointed to by the       So equipped, the inventive camera system can now inde-
gaze tracker pointer or that is otherwise highlighted by the       pendently upload its pictures to any of the internet-based
gaze tracker simply by winking. It is contemplated that the        photo printing services, such as those provided by Walmart-
detected wink would preferably function in the camera 45 .com, Walgreens.com, Kodak.com, etc., without the need for
system similarly to a left mouse click on a computer system        first storing the photos to a computer system and then
when dealing with menus and icons. In this way, the camera         connecting the computer system to the internet to upload the
system with wink detector of this aspect of the present            pictures. Use of these internet services for printing photos is
invention becomes a optical gesture-recognizing camera             preferred by many over use of a home photo printer because
wherein the gesture is optically received and electronically 50 of the convenience, ease, availability, quality and lower
recognized (gesture recognition is also contemplated to be         per-picture printing costs. Providing the novel combination
used in the touchpad software as described above.)                 of a high photo-quality camera system with direct access to
    In an enhancement of this aspect of the invention, the         the internet according to this aspect of the present invention
wink detector subsystem discriminates between a wink and           will further improve the utility of the camera system and
a blink by preferably determining the amount of time taken 55 these services.
by the wink or blink. If the amount of time taken for the             In an enhancement to the above-disclosed embodiments
gesture (blinking or winking) is below a certain threshold,        of this aspect of the invention, the inventive camera system
the gesture is considered a wink and disregarded.                  is operable for being instructed to automatically initiate a
    Once a user of a camera has taken pictures, typically he       connection to the internet, LAN, printer, etc. whenever the
will wish to print or otherwise develop the pictures for 60 predetermined conditions are met and it is in range of the
viewing, framing, etc. Another aspect of the present inven-        network connection, (e.g., WIFI, Bluetooth, wireless USB,
tion provides for simpler photo offloading from the modern         wired LAN, etc). Once the transmittal of the pictures is
digital camera when a set of predetermined conditions, such        complete, the inventive camera system preferably terminates
as day, time, number of pictures to offload, etc., are met. The    the connection. Additionally, the inventive camera system is
camera system preferably includes the ability for the user to 65 preferably operable so that the automatic connection is made
indicate to the camera which pictures to offload so that the       only at certain times of the day or weekends, etc., so as to
camera offloads only those pictures that are so indicated by       confine picture transmission to periods oflow network usage
  Case 6:24-cv-00270-AM-DTG                          Document 44-3               Filed 03/20/25             Page 20 of 23


                                                   US 10,063,761 B2
                             13                                                                  14
or periods of cheaper network access, etc. Also, it is cur-         explicitly placed into camera mode so that it is known ahead
rently preferred that the user be queried to allow the auto-        of time that recognized utterances are for camera control.
matic connection though this is obviously not required and             Cell phones being so light and without much inertia are
the connection can be made completely autonomously.                 hard to steady and the fact that the user must push a button
Thus, in the first embodiment above, the inventive camera 5 on something so light makes it even harder to keep steady
system automatically sends its pictures to a printer or other       particularly given the small size of the shutter button on
device on the LAN for printing or for remotely storing the          some cell phones. This aspect of the present invention would
pictures in the inventive camera system, whenever the               make picture taking on cell phones simpler and more fool
inventive camera system is in range of the LAN network              proof.
                                                                 10    Another aspect of the invention provides that the prior art
connection and connection can be made. In the second
                                                                    voice recognition unit of the cell phone be adapted to
embodiment above, the inventive camera system automati-
                                                                    recognize at least some email addresses when spoken.
cally connects to the internet preferably via WIFI, although
                                                                    Another aspect of this inventive adaptation is to adapt the
cellular network, etc. connection is also contemplated, when        cell phone voice recognizer to identify the letters of the
it has a predetermined number of pictures and can so 15 alphabet along with certain key words, for example, "space",
connect, and will send the pictures to virtually any internet       "underscore", "question mark", etc and numbers so that
destination without user intervention. For example, the             pictures may be named when stored by spelling, for
inventive camera system can be instructed to automatically          example. This aspect of the invention is contemplated to
send the pictures to an email account, internet picture             serve the dual purpose of being usable for text messaging or
hosting site, web-based photo printing site, the user's inter- 20 chat text input on the cell phone in addition to picture
net-connected home computer (when he is on vacation, for            labeling.
instance), etc. In this way, valuable pictures are immediately         Additionally, other aspects of the present invention taught
backed-up and the need for reliance on expensive camera             for the improved camera system are applicable to the
storage media like flash cards, SD, etc. is greatly reduced.        improved cell phone herein disclosed particularly the aspect
    Many prior art digital cameras can now record images 25 of the present invention associating multiple different utter-
continuously at 30 frames per second (i.e., take movies)            ances to a single command. The aspect of the invention
along with sound. Thus, a prior art camera having an internet       allowing for automatic connection to a LAN or the internet
connection capability as herein taught combined with well           is also contemplated for use with cell phone cameras. This
known and straightforward editing methods (such as a                aspect of the invention ameliorates the prior art storage
picture editor, (FIG. 3, element 46a)) enables inventive 30 space limitation which severely hampers the utility of the
on-camera movie composition. According to this aspect of            cell phone camera. Cellular service providers typically
the invention, the inventive camera records a series of             charge a fee for internet access or emailing and so an
images, (e.g., a movie) and then the user downloads an MP3          automatic feature to connect to the net or send email for the
file (i.e., a sound file) from a network (e.g., internet) source    purposes of transmitting pictures can improve revenue gen-
to be associated with the movie taken so that when the movie 35 eration for these companies.
is played, the MP3 file also plays. Alternatively, the MP3             The embodiments herein disclosed for the various aspects
content is embedded in the movie, either as is, or re-              of the present invention are exemplary and are meant to
encoded. Additionally, the user may download other movie            illustrate the currently preferred embodiments of the various
material or still images via the network connection for             aspects of the invention. The disclosed embodiments are not
insertion in the camera-recorded movie or for the replace- 40 meant to be exhaustive or to limit application of the various
ment of certain individual camera-taken "frames" in the             aspects of the invention to those embodiments so disclosed.
movie.                                                              There are other embodiments of the various aspects of the
    FIG. 3 shows an exemplary functional block diagram of           present invention that are within the scope of the invention.
the improved, camera system according to various aspects of         Additionally, not all aspects of the invention need to be
the present invention. The figure shows one possible exem- 45 practiced together, it is contemplated that subsets of the
plary embodiment contemplated and the figure should not be          disclosed aspects of the present invention may be practiced
used to limit the teaching of this disclosure to a certain          in an embodiment and still be within the scope of the present
implementation, embodiment, combination of aspects of the           invention. For instance, an embodiment combining a touch
present invention, or otherwise.                                    sensitive shutter button with a viewfinder use detector so
   Another aspect of the present invention provides that prior 50 that focusing is only accomplished when both the shutter
art features of the cell phone are combined so that voice           button is touched and viewfinder use is detected. Another
control of the camera in the cell phone can be accomplished.        embodiment contemplated is to use the viewfinder use
Many modern cell phones incorporating cams also provide             detector to automatically turn the EVF on and the LCD
voice recognition-driven dialing. Therefore, the functional-        display off when viewfinder use is detected instead of the
ity necessary for recognizing vocalizations within a cellular 55 prior art method of pressing a button which typically toggles
communication device exists in the art but has not been             which of the two is on and which is off. Still another
applied to the cell phone camera. This aspect of the present        contemplated embodiment applies the touch gesture recog-
invention couples the voice recognition unit of a cell phone        nition typically used with the computer-like touchpad tech-
to the camera control unit of the cell phone either directly or     nology to a touch sensitive display, such as the touch
via the cell phone controller, thus enabling voice control of 60 sensitive LCD of the camera and other devices herein
the cell phone camera. Preferably, when recognizing a               disclosed that utilize an LCD display. Combining various
vocalization, the cell phone controller programming would           aspects of the invention herein disclosed, such as voice
also include the step of determining if the recognized              recognition, touch input, gaze tracking, etc for camera
vocalization was for camera control, or for dialing. Such           control provides much more natural and human interfacing
determination would preferably be by reserving certain 65 to the camera system for the control of camera menus,
recognized keywords to be associated with camera functions          camera features, camera options, camera settings, com-
(e.g., snap, shoot, etc). Alternatively, the cell phone may be      manding picture taking, enabling flash, etc.
  Case 6:24-cv-00270-AM-DTG                          Document 44-3                Filed 03/20/25             Page 21 of 23


                                                    US 10,063,761 B2
                             15                                                                  16
   Another alternative embodiment for the disclosed aspects        required. This new input-gather device can be used to
of the present invention is to use the disclosed touchpad with     replace all or some of the buttons or joystick-like controllers
or without supporting input gesture recognition with cellular      on cell phones, portable electronic devices, cordless phones,
phones, other cellular devices, Apple Computer Inc.'s Ipod         mp3 players, PDAs, cameras, calculators, point of sales
MP3 player, etc., with the computer-like touchpad replacing 5 terminals, computers, computer monitors, game controllers,
some or all of the buttons on devices. Touch input with or         radio, stereos, TV, DVD players, set-top boxes, remote
without touch-based gesture recognition would be an ideal          controls, automobile interfaces, appliances, household
replacement for Apple's Ipod click wheel interface. The            switches light and appliance switches, etc. Additionally, use
touch pad would preferably be made round (alternatively, it        of an overlay with cutouts is not absolutely necessary to
would be rectangular with the housing of the device pro- 10 practicing the above teachings. Similar functionality can be
viding a round aperture to the touchpad device) and simply         accomplished by simply embedding, embossing, or surface
by skimming a finger over or touching the touchpad at the          applying area-delineating markings, preferably with labels,
appropriate places on the touch pad, the Ipod would be             to the touchpad itself and allowing software to accept only
commanded to perform the proper function such as raising           those touches that occur in these defined areas and to give
or lowering the volume, fast forwarding, slowing down 15 the labeled meaning to these areas when so touched. How-
replay, changing the selection, etc. This type of round            ever, use of an overlay with cutouts is currently greatly
touchpad is also contemplated for use on cell phones to            preferred because of the tactile delineation of areas it pro-
simulate the old-fashioned rotary dial action or placement of      vides.
digits. The user touches the pad at the appropriate place             Returning to the Ipod example, because of the large
around the circumference of the touch pad to select digits 20 memory currently available with the Ipod, it is also con-
and enter them and then makes a dialing motion (stroking a         templated that a digital camera, similar to cell phone's
thumb or finger around the circumference of the touchpad)          camera be embedded in the Ipod and coupled to the Ipod
to begin the call or touches the center of the pad to begin the    controller and this inventive Ipod be operable for taking
call. Round pattern dialing is easily done with the thumb          pictures and storing the pictures in the !pod's memory.
when the phone is being single-handedly held. With refer- 25 Another alternate embodiment for the disclosed aspects of
ence to FIG. 5, in another embodiment, the touchpad, 94, is        the present invention is to use the viewfinder use detector,
further contemplated to be fitted with a solid overlay having      gaze tracker, and/or the disclosed internet connectability,
2 or more cutouts over its surface (the solid overlay with         herein described, in a video camera. As with the camera
cutouts is preferably part of the cell phone or other device's     system disclosure, the viewfinder use detector can be used to
housing and alternatively, the solid overlay, 90, with cutouts, 30 enable or disable various aspects of the video camera
92, is applied to the touchpad surface separately) that only       system, such as turning the LCD display off when view-
allows for certain areas of the touchpad to actually be            finder use is detected. Gaze tracking is contemplated to be
touched to assist the user in assuring that only certain           used to assist the video camera focusing or used to guide and
well-defined areas of the touchpad are touched. This greatly       select menu items. Internet connectability is contemplated
reduces the software detection requirements for the touch- 35 be used to download sound or image files for editing or for
pad interface software since now the software need only            uploading video recorded for editing or remote storage of
detect when a certain defined area is touched and assigns a        the video images.
specific function to that touched area and reports that to the        It is further contemplated that certain aspects of the
device controller. That is, the cutout areas would essentially     presently disclosed invention have application beyond those
be soft keys but without there being a plurality of different 40 disclosed herein. For instance, various voice recognition
keys, instead, simply different soft key locations on the same     aspects of the present invention, such as use of a plurality of
touchpad but delineated physically so that certain other areas     microphones or multiple different vocal utterances associ-
of the touchpad simply cannot be touched. It is further            ated with the same command or delayed implementation of
contemplated that, in many instances, the cutouts can be           a command which corresponds to a recognized vocalization,
made large enough so that finger-stroke gestures can still be 45 are contemplated to have utility for many of the devices
made and discerned. Because of the nature of modern                herein referenced and are anticipated to be incorporated
mouse-like touchpad technology and how it works, the               therein. As an example, automatically connecting to the
fimmess of a persons touch that actually registers as a touch      internet when a set of predetermined rules or conditions
can also be provided for by software and this feature is also      (such as time, date, status of equipment, etc) is met would
contemplated for use herein. Additionally, the touchpad, 50 be useful for the download/upload of information from/to
covered by a solid overlay with cutouts, would be recessed         the internet, like music, video, etc. for processing, storage,
below the upper surface of the overlay (by as much as              transmission to another party, etc. Those skilled in the art
desired) helping to minimize false touches. This would be a        will undoubtedly see various combinations and alternative
much cheaper input gathering structure and would replace           embodiments of the various aspects of the present invention
some or all of the many buttons and joystick-like controller 55 herein taught but which will still be within the spirit and
of the cell phone, Ipod, camera, etc. It is contemplated that      scope of the invention.
a few generic touchpad shapes and sizes could be manufac-             What is claimed is:
tured and serve a host of input functions, replacing literally        1. A camera system comprising:
tons of buttons and switches, since now the solid overlay             (a) a lens;
with cutouts on top of the touchpad defines the areas that can 60     (b) a cellular interface;
be touched or gestured (see exemplary drawings of FIG. S(b)           (c) an image sensor configured to take pictures;
and FIG. S(c)), and touchpad software, well understood in             (d) a non-volatile local memory configured to store one or
the art, defines what meaning is ascribed to these touched               more pictures;
locations and gestures and what degree offimmess of touch             (e) a touch sensitive display;
is required to actually register the touch. Tapping and 65            (f) a controller configured to:
gesture (i.e., a finger stroke) recognition would further                (i) receive, via the touch sens1t1ve display, a user
extend this new input-gathering device capability but is not                selection of an upload option that instructs the device
  Case 6:24-cv-00270-AM-DTG                            Document 44-3                 Filed 03/20/25              Page 22 of 23


                                                      US 10,063,761 B2
                              17                                                                     18
          to confine automatic picture upload to periods with-            (i) the voice recognizer (1) coupled to and configured to
          out potential cellular network access fees:                        receive and process sounds transduced by at least one
       (ii) automatically connect to a remote picture hosting                microphone, and (2) configured to receive a first and a
           service and cause an upload of one or more pictures               second human sound spoken by the same person,
           stored in the non-volatile memory to the remote 5                 wherein the voice recognizer is operable to recognize
          picture hosting service via the cellular interface, after          using speaker-independent voice-recognition:
          receiving:                                                         (i) the first human sound as a first human spoken word
           (1) data from the cellular interface used by the                     from among the plurality, the recognized first human
              controller to determine that the upload is allowed                 spoken word being assigned by the control program
              based on the selected upload option,                  10
                                                                                to be a command for the camera to take a picture, and
           (2) an indication that the system is connected to the
                                                                             (ii) the second human sound as a second human spoken
              internet via the cellular interface; and
                                                                                word from among the plurality, the recognized sec-
           (3) an indication from the local memory that a user
              has elected an option to designate at least one                   ond human spoken word being different from the
              picture from the group of pictures stored in the 15               first human spoken word and also simultaneously
              local memory to be uploaded to the remote picture                 assigned by the control program to be the same
              hosting service.                                                  camera command to take a picture.
    2. The camera system of claim 1 wherein the remote                    12.  The     camera system of claim 11, wherein the voice
picture hosting service is associated with an email account.           recognizer is configured to receive and process a third
    3. The camera system of claim 1 further comprising:             20 human sound to be recognized as a third word that is
    (g) a voice recognizer (1) coupled to and configured to            different from the first and second words and is used by the
       receive and process sounds transduced by at least one           control program to perform a second camera command.
       microphone, and (2) configured to recognize one or                 13. The camera system of claim 12, wherein the controller
       more words associated with an operation for the cam-            is configured to delay the second camera command for an
       era;                                                         25 intentional period of time after the voice recognizer recog-
    (h) the controller further configured to cause the camera          nizes the third word.
       to perform the operation associated with the one or                14. The camera system of claim 11, wherein one of the
       more words recognized by the voice recognizer.                  words is "snap".
    4. The camera system of claim 1, wherein the remote                   15. The camera system of claim 11, wherein one of the
picture hosting service includes printing services.                 30
                                                                       words is "cheese".
    5. The camera system of claim 1 further comprising a
                                                                          16. The camera system of claim 1 wherein the controller
camera body and a stylus housed within the camera body.
                                                                       is configured to cause uploaded pictures to thereafter be
    6. The camera system of claim 1, wherein the controller
                                                                       transmitted to another party.
is further configured to create and store a picture sequence
file in the non-volatile memory, the picture sequence file 35             17. A camera system comprising:
comprising:                                                               (a) a lens;
    (1) a first picture taken with the image sensor and stored            (b) a cellular interface;
       in the non-volatile memory;                                        (c) an image sensor configured to take pictures;
    (2) a second picture taken with the image sensor and                  (d) a non-volatile local memory configured to store one or
       stored in the non-volatile memory;                           40       more pictures;
    (3) data from a sound file downloaded via the WIFI                    (e) a touch sensitive display; and
       interface and stored in the non-volatile memory.                   (f) a controller configured to
    7. The camera system of claim 6, wherein the controller                  (1) receive, via the touch sensitive display, a user
is further configured to upload the picture sequence file to                     selection of an upload option that instructs the device
the remote picture hosting service via the WIFI interface. 45                   to confine automatic picture upload to periods with-
    8. The camera system of claim 1 wherein the controller is                   out potential cellular network access fees:
configured to receive a selection of specific pictures stored                (2) automatically connect to a remote picture hosting
in the non-volatile memory to be uploaded to the remote                          service and cause an upload of one or more pictures
picture hosting service.                                                         stored in the non-volatile memory to the remote
    9. The camera system of claim 1 further comprising:             50          picture hosting service via the cellular interfaces,
    (g) first and second microphones facing different direc-                    after receiving:
       tions and configured to receive and detect sound sig-                     (i) data from the cellular interface used by the
       nals; and                                                                     controller to determine that the upload is allowed
    (h) a detector coupled to the microphones and configured                        based on the selected upload option;
       to receive, process and combine sound signals detected 55                 (ii) an indication that the system is connected to the
       at the microphones.                                                           internet via the cellular interface to the remote
    10. The camera system of claim 9 wherein the detector is                        picture hosting service; and
coupled to a voice recognizer.                                                   (iii) an indication from the local memory that a user
    11. The camera system of claim 1 further comprising:                            has elected an option to designate at least one
    (g) the non-volatile local memory configured to maintain 60                     picture from the group of pictures stored in the
       and store a plurality of recognizable words having                            local memory to be uploaded to the remote picture
       different plain meanings and commonly associated                             hosting service;
       with taking a picture, the recognition of any of which                (3) automatically cause an upload of one or more
       will cause the camera to take a picture;                                 pictures stored in the non-volatile memory to a home
    (h) the controller including a control program having 65                    computer via the cellular interface, after predeter-
       instructions to control and respond to a voice recog-                    mined conditions are met, the predetermined condi-
       nizer;                                                                   tions including at least receiving:
  Case 6:24-cv-00270-AM-DTG                      Document 44-3     Filed 03/20/25   Page 23 of 23


                                                US 10,063,761 B2
                           19                                               20
        (i) data from the cellular interface used by the
           controller to determine that the upload is allowed
           based on the selected upload option; and
        (ii) an indication from the local memory that a user
           has elected an option to designate at least one 5
           picture from the group of pictures stored in the
           local memory to be uploaded to the home com-
           puter.
  18. The camera system of claim 17 further comprising:
  (g) a voice recognizer (1) coupled to and configured to 10
     receive and process sounds transduced by at least one
     microphone, and (2) configured to recognize one or
     more words associated with an operation for the cam-
     era;
  (h) the controller further configured to cause the camera 15
     to perform the operation associated with the one or
     more words recognized by the voice recognizer.
  19. The camera system of claim 17 further comprising a
camera body and a stylus housed within the camera body.
                                                            20
                     * * * * *
